      Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 1 of 8 PageID #:1



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LAURA LEMKE, on behalf of herself                            )
and all others similarly situated,                           )
                                                             )
               Plaintiff,                                    )
                                                             )       Case No. 18-cv-05080
               v.                                            )
                                                             )
HOVG, LLC d/b/a BAY AREA CREDIT SERVICE;                     )
PENDRICK CAPITAL PARTNERS, LLC; and                          )
PENDRICK CAPITAL PARTNERS II, LLC,                           )
                                                             )
                Defendants.                                  )       Jury Demanded

                               COMPLAINT—CLASS ACTION

       Plaintiff, Laura Lemke, on behalf of herself and a putative class, brings this action under

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28 U.S.C.

§ 1331.

       2.      Venue is proper in this District because parts of the acts and transactions occurred

here and Defendant transacts substantial business here.

                                            PARTIES

          3.   Defendants sent Plaintiff a collection letter which falsely stated they may charge a

processing fee and Plaintiff has thus suffered an injury as a result of Defendant’s conduct, giving

rise to standing before this Court. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1544 (2016), quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define

injuries and articulate chains of causation that will give rise to a case or controversy where none

existed before.); Bellwood v. Dwivedi, 895 F. 2d 1521, 1526-27 (7th Cir. 1990) (“Congress can
       Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 2 of 8 PageID #:2



create new substantive rights, such as a right to be free from misrepresentations, and if that right

is invaded the holder of the right can sue without running afoul of Article III, even if he incurs no

other injury[.]”).

        4.      Defendant, HOVG, LLC (“HOVG”), is Nevada corporation doing business in the

state of Illinois that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or telephones to collect, or attempt to collect, defaulted consumer

debts due or asserted to be due another. (Exhibit A, Record from Illinois Secretary of State).

        5.      HOVG is licensed as a collection agency in Illinois attempts to collect debts from

consumers in the State of Illinois. (Exhibit B, Record from Illinois Department of Professional

and Financial Regulation).

        6.      As a condition of maintaining its license as collection agency, HOVG is insured

and bonded for at least $25,000 for incidents arising out of their attempted collection of a debt.

        7.      Pendrick Capital Partners, LLC, and Pendrick Capital Partners II, LLC

(collectively, “Pendrick"), is a pair of Delaware limited liability companies that operates a

nationwide delinquent debt collection business, and attempts to collect debts from consumers in

virtually every state, including consumers in the State of Illinois. Pendrick maintains a registered

office and agent in Illinois, located at C T Corporation System, 208 South LaSalle Street, Suite

814, Chicago, Illinois 60604. (Exhibits C and E, records from Illinois Department of

Professional and Financial Regulation).

        8.      Pendrick is one of the largest health care debt buyers in the USA, and has

purchased over 55 million consumer medical accounts with a face value of over $16 billion.

(Pendrick Capital Partners, LLC, LinkedIn, https://www.linkedin.com/company/1584027)

(viewed on Sep. 1, 2017).
      Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 3 of 8 PageID #:3



       9.      Pendrick’s principal purpose is the collection of debts as it derives most, if not all,

of its revenue from collecting on these accounts. Id.

       10.     Pendrick is registered as a collection agency in Illinois. (Exhibits D & F, records

from Illinois Department of Financial and Professional Regulation).

        11.    Pendrick is thus a “debt collector” as that term is defined at § 1692a(6) of the

FDCPA.

                                      FACTUAL ALLEGATIONS

        12.    According to Defendants, Laura Lemke (“Plaintiff”) incurred an alleged debt for

goods and services used for personal purposes, originally for an EMP of Will County medical

account (“alleged debt”). The alleged debt is thus a “debt” as that term is defined at § 1692a(5)

of the FDCPA.

        13.    Due to her financial circumstances, Plaintiff could not pay any alleged debts, and

the alleged debt went into default.

        14.    Defendants subsequently began collecting the alleged debt.

        15.    On or about July 25, 2017, Defendants mailed Plaintiff a collection letter

(“Letter”). (Exhibit G, Collection Letter).

        16.    Exhibit G is a form letter.

        17.    The Letter conveyed information about the alleged debt, including an account

number, the identity of the creditor, and an account balance.

        18.    Thus, the Letter was a communication as that term is defined at §1692a(2) of the

FDCPA.

        19.    The Letter states that payments by debit card or credit card will be accepted.
       Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 4 of 8 PageID #:4



         20.    The Letter states: “Please be advised that you may incur processing charges when

utilizing these methods of payment.” (Ex. G, Letter).

         21.    In fact, Plaintiff may not incur processing charges as such charges are unlawful in

the State of Illinois.

         22.    Specifically, the Illinois Collection Agency Act, 225 ILCS 425/9(a)(29), makes

unlawful "Collecting or attempting to collect any interest or other charge or fee in excess of the

actual debt or claim unless such interest or other charge or fee is expressly authorized by the

agreement creating the debt or claim unless expressly authorized by law or unless in a

commercial transaction such interest or other charge or fee is expressly authorized in a

subsequent agreement."

         23.    There is no agreement between Plaintiff and Defendants authorizing them to

collect a processing fee for any reason.

         24.    The alleged debt was not incurred as the result of a commercial transaction.

         25.    15 U.S.C. § 1692e of the FDCPA provides as follows:

                False or misleading representations

                A debt collector may not use any false, deceptive, or misleading
                representation or means in connection with the collection of any debt.
                Without limiting the general application of the foregoing, the following
                conduct is a violation of this section:

                . . . (2) The false representation of—

                         (A) the character, amount, or legal status of any debt. . .

                . . . (10) The use of any false representation or deceptive means to collect
                or attempt to collect any debt or to obtain information concerning a
                consumer. . . .

         26.    15 U.S.C. § 1692f of the FDCPA provides as follows:

                Unfair practices
       Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 5 of 8 PageID #:5



                A debt collector may not use unfair or unconscionable means to collect
                or attempt to collect any debt. Without limiting the general application
                of the foregoing, the following conduct is a violation of this section:

                (1) The collection of any amount (including any interest, fee, charge, or
                expense incidental to the principal obligation) unless such amount is
                expressly authorized by the agreement creating the debt or permitted
                by law. . . .

        27.     Defendants made a false statement in connection with the attempt to collect a

debt, in violation of 15 U.S.C. §§ 1692e(2)(a), 1692e(10) and 1692f(1), when they told Plaintiff

and the class members that Defendants may charge them a processing fee.

        28.     Pendrick bears the burden of monitoring the activities of those it enlists to collect

debts on its behalf, including HOVG. Janetos v. Fulton Friedman & Gullace, LLP, No. 15-1859,

2016 WL 1382174, at *7 (7th Cir. 2016)

        29.     Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

                                     CLASS ALLEGATIONS

        30.     Plaintiff brings this action on behalf of a class, pursuant to Fed. R. Civ. P. 23(a)

and 23(b)(3).

        31.     The class consists of (a) all individuals with Illinois addresses, (b) who were sent

a letter by Defendants to collect a debt (c) which letter stated Defendants may collect a

processing fee (d) which was sent at any time during a period beginning one year prior to the

filing of this action and ending 20 days after the filing of this action.

        32.     As Exhibit G is a form letter, and therefore likely sent out to many consumers in

Illinois, the class is so numerous that joinder of all members is not practicable.
        Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 6 of 8 PageID #:6



         33.   There are questions of law and fact common to the class members, which

common questions predominate over any questions relating to individual class members. The

predominant common questions are:

               a.      Whether defendant's fee is prohibited by Illinois law;

               b.      Whether a letter representing that such fees may be charged violates the

               FDCPA.

         34.   Plaintiff claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

         35.   Plaintiffs will fairly and adequately represent the class members. Plaintiff has

retained counsel experienced in class actions and FDCPA litigation.

         36.   A class action is superior for the fair and efficient adjudication of this matter, in

that:

               a.      Individual actions are not economically feasible.

               b.      Members of the class are likely to be unaware of their rights;

               c.      Congress intended class actions to be the principal enforcement

         mechanism under the FDCPA.

                             COUNT I—FDCPA CLASS CLAIM

         37.   Plaintiff re-alleges the paragraphs above as if set forth fully in this count.

         38.   Defendants made a false statement in connection with the attempt to collect a

debt, in violation of 15 U.S.C. §§ 1692e(2)(a), 1692e(10) and 1692f(1), when they told Plaintiff

and the class members that Defendants may charge them a processing fee.

        WHEREFORE, Plaintiff respectfully asks this Court enter judgment in Plaintiff’s favor

and against Defendants as follows:
     Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 7 of 8 PageID #:7



           i. Statutory damages for the class pursuant to 15 U.S.C. § 1692k(a)(2);

          ii. Actual damages in favor of all class members charged the fee;

         iii. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)(3); and

          iv. Such other or further relief as the Court deems proper.

                                     JURY DEMAND

                               Plaintiff demands trial by jury.


                                                  By: s/Celetha C. Chatman
                                                         Celetha C. Chatman

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      Case: 1:18-cv-05080 Document #: 1 Filed: 07/25/18 Page 8 of 8 PageID #:8




                          NOTICE OF LIEN AND ASSIGNMENT

        Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount
as a court awards. All rights relating to attorney's fees have been assigned to counsel.


                                                    By: s/Celetha C. Chatman
                                                           Celetha C. Chatman

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